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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALEXANDRE PELLETIER, Individually
and On Behalf of All Others Similarly      Hon. Michael M. Baylson
Situated,
                                           No. 2:17-cv-05114-MB
                             Plaintiff,
                  - v. -
ENDO INTERNATIONAL PLC, RAJIV
KANISHKA LIYANAARCHCHIE DE
SILVA, SUKETU P. UPADHYAY, AND
PAUL V. CAMPANELLI
                             Defendants.




            RESPONSE TO NOTICE OF SUPPLEMENTAL AUTHORITY
                IN FURTHER SUPPORT OF LEAD PLAINTIFF’S
             OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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        Lead Plaintiff, in response to Defendants’ recent Notice of Supplemental Authority In

 Support of Defendants’ Motion to Dismiss, ECF 91, respectfully submits: First, the ruling in

 Gamm v. Sanderson Farms, Inc., 944 F.3d 455 (2d Cir. 2019), applies only to the second of Lead

 Plaintiff’s two independent theories of falsity (i.e., that Defendants concealed that Endo was

 engaged in anticompetitive price fixing). Second, Gamm does not change the long-held Second

 Circuit pleading standard that each of that Circuit’s District Courts applied to deny motions to

 dismiss allegations of securities fraud arising from the very same anticompetitive scheme alleged

 here. ECF 86-1 at 33; see OTPP v. Teva, 2019 WL 4674839, at *15 (D. Conn. 2019) (citing In

 re Taro Sec. Litig., 2018 WL 4572987 (S.D.N.Y. 2018) and In re Mylan Sec. Litig., 2018 WL

 1595985 (S.D.N.Y. 2018)). Finally, Lead Plaintiff’s exhaustive allegations meet, if not exceed,

 this pleading standard. See ECFs 66 at 22-30; 89 at 2-5; 89-1 at 33:1-2, 52:2-53:24.



DATED: January 9, 2020                         Respectfully submitted,

ELLIOTT GREENLEAF, P.C.                        BLEICHMAR FONTI & AULD LLP


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                               CERTIFICATE OF SERVICE

        I hereby certify that on this day I caused a true and correct copy of the foregoing to be
filed using the Court’s Electronic Filing System (“ECF System”). The document is available for
viewing and downloading via the ECF System, and will be served by operation of the ECF
System upon all counsels of record.



Dated: January 9, 2020                              BLEICHMAR FONTI & AULD LLP

                                                         /s/ Joseph A. Fonti

                                                             Joseph A. Fonti
